THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Matthew Snowden, Appellant.
			
		
	


Appeal From Bamberg County
&nbsp;Doyet A. Early, III, Circuit Court Judge
Unpublished Opinion No. 2007-UP-370
Submitted September 1, 2007  Filed September 18, 2007&nbsp; 

APPEAL DISMISSED


	
		
			
				Assistant Appellate Defender Robert M. Dudek, South Carolina Commission on Indigent Defense, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Barbara R. Morgan, of Aiken, for Respondent.
			
		
	

PER CURIAM:&nbsp; Matthew Snowden (Appellant) pled guilty to third-degree burglary.&nbsp; He was sentenced to four years in prison, suspended upon the service of three years probation.
On appeal, counsel for Appellant has filed a final brief along with a petition to be relieved as counsel.&nbsp; Appellant has not filed a pro se response.&nbsp; After a thorough review of the record pursuant to Anders v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsels petition to be relieved.&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp; 
 
APPEAL DISMISSED.[1]
HEARN, C.J., and HUFF and KITTREDGE, JJ., concur.&nbsp; 


[1]&nbsp; This case is decided without oral argument pursuant to Rule 215, SCACR.

